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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                          )
                                      )
                       Plaintiff,     )
                                      )       CIVIL ACTION
vs.                                   )
                                      )       Case No.
VG HOLDINGS, LLC,                     )
                                      )
                       Defendant.     )

                                          COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, VG HOLDINGS, LLC, pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                          JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



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        5.       Plaintiff uses a wheelchair for mobility purposes.

        6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

        7.       Defendant, VG HOLDINGS, LLC (hereinafter “VG HOLDINGS, LLC”), is a

Texas limited liability partnership that transacts business in the State of Texas and within this

judicial district.

        8.       Defendant, VG HOLDINGS, LLC, may be properly served with process for

service via its registered agent, to wit:   c/o James Giannukos, Registered Agent, 6015 Skyline

Drive, Houston, TX 77057.

                                   FACTUAL ALLEGATIONS

        9.       On or about September 1, 2021, Plaintiff was a customer at “Gorditas Y Tacos La

Bala 2” a business located at 11107 South Post Oak Rd., Southwest Houston, TX 77035

referenced herein as “Gorditas Y Tacos”.           Attached is a receipt documenting Plaintiff’s

purchase. See Exhibit 1. Also attached is a photograph documenting Plaintiff’s visit to the

Property. See Exhibit 2.

        10.      Plaintiff resides 26 miles from the Property.

        11.      Defendant, VG HOLDINGS, LLC, is the owner or co-owner of the real property



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and improvements that Gorditas Y Tacos is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       12.     Plaintiff’s access to the business(es) located 11107 South Post Oak Rd.,

Southwest Houston, TX        77035, Harris County Property Appraiser’s identification number

0410910000013 (“the Property”), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein were denied

and/or limited because of his disabilities, and he will be denied and/or limited in the future unless

and until Defendant, VG HOLDINGS, LLC, is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Property, including those set forth in this

Complaint.

       13.     Defendant, VG HOLDINGS, LLC, as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, VG HOLDINGS, LLC, and the tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s independent

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a



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return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, personally encountered many barriers to access the Property that are detailed in

this Complaint, engaged many barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury if all the illegal barriers to access present at the Property identified in

this Complaint are not removed.

          17.     Although Plaintiff did not personally encounter each and every barrier to access

identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior to filing

the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

            18.     Plaintiff’s inability to fully access the Property and the stores within in a safe

 manner and in a manner which inhibits the free and equal enjoyment of the goods and services

 offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as

    recognized by Congress and is historically viewed by Federal Courts as an injury in fact.



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                                              COUNT I


                         VIOLATIONS OF THE ADA AND ADAAG

       19.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       20.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       21.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;



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       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       22.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       23.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       24.     The Property is a public accommodation and service establishment.

       25.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       26.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       27.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       28.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his



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access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

        29.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

        30.     Defendant, VG HOLDINGS, LLC, has discriminated against Plaintiff (and others

with disabilities) by denying his access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

        31.     Defendant, VG HOLDINGS, LLC, will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendant, VG HOLDINGS, LLC, is compelled to

remove all physical barriers that exist at the Property, including those specifically set forth

herein, and make the Property accessible to and usable by Plaintiff and other persons with

disabilities.

        32.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and



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equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Despite having a parking lot that is open to the public with more than four spaces,

               the Property has no accessible parking spaces complying with Section 502.1 of

               the 2010 ADAAG standards in violation of Section 208.2 of the 2010 ADAAG

               standards. Given the existing parking lot there are over 100 total parking spaces

               which would require at least five (5) accessible parking spaces, but there are none.

               This violation would make it difficult for Plaintiff to locate an accessible parking

               space and limited the travel options to visit the Property.

       (ii)    Due to a raised sidewalk in front of the accessible entrances to all of the units of

               the property and the lack of an accessible ramp leading from the parking lot to the

               accessible entrances and due to the barriers to access identified in (iii – vii below),

               the Property lacks an accessible route from accessible parking spaces, accessible

               passenger loading zones, public streets, sidewalks and/or public transportation

               stops to the accessible entrance of the Property in violation of Section 206.2.1 of

               the 2010 ADAAG standards. This violation would make it difficult for Plaintiff to

               access the units of the Property.

       (iii)   On the southern end of the Property, in front of the only potential ramp to the

               accessible entrances, there is a driveway that is not paved with loose gravel and

               rocks. As a result, the ground surfaces of the only potential accessible route has

               vertical rises in excess of ¼ (one quarter) inch in height, are not stable or slip

               resistant, have broken or unstable surfaces or otherwise fail to comply with



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         Sections 302 and 303 of the 2010 ADAAG standards. This violation would make

         it dangerous and difficult for Plaintiff to access the units of the Property.

 (iv)    On the southern end of the Property, the walking surfaces of the only potential

         accessible route to the only ramp leading to the accessible entrances has a cross-

         slope in excess of 1:48 in      violation of section 403.3 of the 2010 ADAAG

         standards.   This barrier to access would make it dangerous and difficult for

         Plaintiff to access the stores of the Property.

 (v)     On the southern end of the Property, the walking surfaces of the only potential

         accessible route to the only ramp leading to the accessible entrances has a running

         slope in excess of 1:20 in      violation of section 403.3 of the 2010 ADAAG

         standards.   This barrier to access would make it dangerous and difficult for

         Plaintiff to access the stores of the Property.

 (vi)    On the southern end of the Property, there is a vertical rise at the base of the

         accessible ramp that is in excess of a ¼ of an inch, in violation of Sections 303.2

         and 405.4 of the 2010 ADAAG standards. This barrier to access would make it

         dangerous and difficult for Plaintiff to access public features of the Property when

         using this accessible ramp as vertical rises on ramps are particularly dangerous as

         the surface of the ramp is already at a significant slope which increases the

         likelihood of the wheelchair to tip over due to the vertical rise.

 (vii)   On the southern end of the Property, the Property has an accessible ramp leading

         to the accessible entrances with a slope exceeding 1:10 in violation of Section

         405.2 of the 2010 ADAAG standards. This barrier to access would make it

         dangerous and difficult for Plaintiff to access the units of the Property because



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               when ramps are too steep (more than 1:12) it requires too much physical arm

               strain to wheel up the ramp and increases the likelihood of the wheelchair falling

               backwards and Plaintiff being injured. A

       (viii) Inside Gorditas Y Tacos, there are sales and services counters lacking any portion

               of the counter that has a maximum height of 36 (thirty-six) inches from the

               finished floor in violation of Section 904.4 of the 2010 ADAAG standards, all

               portions of the sales and service counter exceed 36 (thirty-six) inches in height

               from the finished floor. This barrier to access would make it difficult for Plaintiff

               to properly transact business at the Property as Plaintiff is in a wheelchair which

               makes his height much lower than a standing individual, so a surface with a

               maximum height of 36 inches above the finished floor is necessary for Plaintiff to

               sign credit card receipts.

       (ix)    Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       33.     The violations enumerated above may not be a complete list of the barriers,

               conditions or violations encountered by Plaintiff and/or which exist at the

               Property.

       34.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       35.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       36.     All of the violations alleged herein are readily achievable to modify to the



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Property into compliance with the ADA.

       37.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       38.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, VG

HOLDINGS, LLC, has the financial resources to make the necessary modifications. According

to the Property Appraiser, the Appraised value of the Property is $1,342,879.00.

       39.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       40.       Upon information and good faith belief, the Property has been altered since 2010.

In fact, the parking lot was recently restriped in 2020.

       41.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       42.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

VG HOLDINGS, LLC, is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Property, including those alleged herein.

       43.       Plaintiff’s requested relief serves the public interest.

       44.       The benefit to Plaintiff and the public of the relief outweighs any resulting



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detriment to Defendant, VG HOLDINGS, LLC.

      45.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, VG HOLDINGS, LLC, pursuant to 42 U.S.C. §§ 12188 and 12205.

      46.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, VG

HOLDINGS, LLC, to modify the Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant, VG HOLDINGS, LLC, in violation of the ADA

             and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant, VG

             HOLDINGS, LLC, from continuing their discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant, VG HOLDINGS, LLC, to (i)

             remove the physical barriers to access and (ii) alter the Property to make it readily

             accessible to and useable by individuals with disabilities to the extent required by

             the ADA;

      (d)    That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

             and costs; and




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 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: January 31, 2022

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
                                     Douglas S. Schapiro, Esq.
                                     Southern District of Texas ID No. 3182479
                                     The Schapiro Law Group, P.L
                                     7301-A W. Palmetto Park Rd., #100A
                                     Boca Raton, FL 33433
                                     Tel: (561) 807-7388
                                     Email: schapiro@schapirolawgroup.com




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